Case 1:21-cr-20151-RKA Document 115 Entered on FLSD Docket 05/23/2022 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-20151-CR-ALTMAN(s)

  UNITED STATES OF AMERICA,

  vs.

  MIGUEL ANDRES GUTIERREZ DIAZ,
      a/k/a “Mickey,”

         Defendant.
                                                 /

           AMENDED ORDER FINDING DEFENDANT INCOMPETENT AND
             COMMITING HIM TO THE CUSTODY OF THE ATTORNEY
                     GENERAL FOR HOSPITALIZATION

         THIS MATTER came before the Court following a competency hearing on May 12, 2022. At

  the hearing, the parties stipulated that the Defendant is suffering from a mental disease or defect that

  renders him mentally incompetent—a stipulation that was based on the forensic evaluation of April

  1, 2022, conducted by Dr. Carmen J. Rodriguez, a forensic psychologist with the Bureau of Prisons.

  Dr. Rodriguez recommended that the Defendant be found incompetent and that he be sent to a

  federal medical center for competency restoration.

         Accordingly, the Court hereby ORDERS AND ADJUDGES as follows:

             1. The preponderance of the evidence supports the parties’ stipulation that the

                 Defendant is presently suffering from a mental disease or defect that renders him

                 incompetent to proceed.

             2. Pursuant to Title 18, United States Code, Section 4241(d)(1), the Defendant is

                 committed to the custody of the Attorney General, who shall immediately hospitalize

                 the Defendant for treatment in a suitable facility for a reasonable period of time, not

                 to exceed four (4) months, as is necessary to determine whether there is a substantial
Case 1:21-cr-20151-RKA Document 115 Entered on FLSD Docket 05/23/2022 Page 2 of 2



               probability that, in the foreseeable future, the Defendant may become competent to

               proceed.

           3. During that time, the director of the facility in which the Defendant is hospitalized

               shall update counsel for the parties regarding the Defendant’s status.

           4. If, during the Defendant’s hospitalization, the director of the facility in which the

               Defendant is hospitalized determines that the Defendant has recovered to such an

               extent that he is able to understand the nature and consequences of the proceedings

               against him and assist properly in his defense, the director shall promptly provide a

               certificate to that effect to the Clerk of the United States District Court for the

               Southern District of Florida and the Court at Altman@flsd.uscourts who shall

               immediately file the certificate under seal in this case. The Clerk of Court shall also

               provide copies of the certificate to counsel for the Defendant and the Government.

               Upon the receipt of such certificate, the Court will hold a hearing to determine whether

               the Defendant is competent to proceed.

           5. The Clerk of Court shall terminate this Defendant and mark this case closed until

               further order of the Court.

        DONE AND ORDERED this 23rd day of May, 2022, in Miami, Florida.




                                              HONORABLE ROY K. ALTMAN
                                              UNITED STATES DISTRICT JUDGE

  cc:   Bureau of Prisons

        Ellen D’Angelo, AUSA
        Dennis Urbano, Esq.
